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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                                Judge Nina Y. Wang

Criminal Action No. 24-cr-00088-NYW-1

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1.      TAREK KASSEM,

        Defendant.


     ORDER GRANTING UNOPPOSED MOTION TO EXCLUDE 180 DAYS FROM THE
                 REQUIREMENTS OF THE SPEEDY TRIAL ACT


        This matter is before the Court on the Unopposed Motion to Exclude 180 Days

from the Requirements of the Speedy Trial Act (the “Motion”) filed on January 24, 2025

by Defendant Tarek Kassem (“Defendant”). [Doc. 25]. Defendant asks this Court for an

order excluding 180 days from the Speedy Trial Act calculation. [Id. at 1]. The Court

notes that this is the third requested continuance of the trial date in this matter. See also

[Doc. 20; Doc. 22].

        Defendant’s Motion is filed under the Speedy Trial Act of 1974 (the “Speedy Trial

Act” or the “Act”), which is “designed to protect a criminal defendant’s constitutional right

to a speedy trial and to serve the public interest in ensuring prompt criminal proceedings.”

United States v. Hill, 197 F.3d 436, 440 (10th Cir. 1999). The Act “requires that a criminal

defendant’s trial commence within 70 days after his indictment or initial appearance,

whichever is later.” Id.; see also 18 U.S.C. § 3161(c)(1). Certain periods of delay are
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excluded and do not count toward the 70-day limit. See 18 U.S.C. § 3161(h)(1)–(8). The

Speedy Trial Act provides, in pertinent part:

       The following periods of delay shall be excluded . . . in computing the time
       within which the trial of any such offense must commence:

       ...

       Any period of delay resulting from a continuance granted by any judge . . .
       at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the
       basis of his findings that the ends of justice served by taking such action
       outweigh the best interest of the public and the defendant in a speedy trial.

Id. § 3161(h)(7)(A). This is frequently referred to as an “ends of justice continuance.”

       In order for a continuance to qualify as an excludable “ends of justice” continuance

under § 3161(h)(7)(A), certain prerequisites must be satisfied. See Hill, 197 F.3d at 441.

First, the Court must consider the following factors listed in § 3161(h)(7)(B):

       (i)     Whether the failure to grant such a continuance in the proceeding
               would be likely to make a continuation of such proceeding
               impossible, or result in a miscarriage of justice.
       (ii)    Whether the case is so unusual or so complex, due to the number of
               defendants, the nature of the prosecution, or the existence of novel
               questions of fact or law, that it is unreasonable to expect adequate
               preparation for pretrial proceedings or for the trial itself within the time
               limits established by [the Act].
       (iii)   Whether, in a case in which arrest precedes indictment, delay in the
               filing of the indictment is caused because the arrest occurs at a time
               such that it is unreasonable to expect return and filing of the
               indictment within the period specified in section 3161(b), or because
               the facts upon which the grand jury must base its determination are
               unusual or complex.
       (iv)    Whether the failure to grant such a continuance in a case which,
               taken as a whole, is not so unusual or so complex as to fall within
               clause (ii), would deny the defendant reasonable time to obtain
               counsel, would unreasonably deny the defendant or the Government
               continuity of counsel, or would deny counsel for the defendant or the
               attorney for the Government the reasonable time necessary for
               effective preparation, taking into account the exercise of due
               diligence.

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18 U.S.C. § 3161(h)(7)(B).

       After considering these factors, the Court must then set forth, “in the record of the

case, either orally or in writing, its reasons for finding that the ends of justice served by

the granting of such continuance will outweigh the best interests of the public and the

defendant in a speedy trial.” Id. § 3161(h)(7)(A). Although the Court’s findings “may be

entered on the record after the fact, they may not be made after the fact.” Hill, 197 F.3d

at 441 (quoting United States v. Dorian, 882 F.2d 1511, 1516 (10th Cir. 1989)). “Instead,

‘[t]he balancing must occur contemporaneously with the granting of the continuance

because Congress intended that the decision to grant an ends-of-justice continuance be

prospective, not retroactive.’” Id. (quoting Dorian, 882 F.2d at 1516).

       On March 21, 2024, an Indictment was filed charging Defendant with seven counts

of wire fraud in violation of 18 U.S.C. § 1343 and three counts of money laundering in

violation of 18 U.S.C. § 1957. [Doc. 1]. Defendant was arrested on March 26, 2024 and

made his initial appearance the same day. [Doc. 4; Doc. 5]. The Court subsequently set

this case for a five-day jury trial to begin May 13, 2024, with pretrial motions due April 23,

2024. [Doc. 13]. After Defendant requested and was granted two continuances of the

trial date, see [Doc. 20; Doc. 22], the trial is currently set to begin March 10, 2025, with

pretrial motions due January 24, 2025, [Doc. 23 at 5].

       Defendant now requests that an additional 180 days be excluded from the Speedy

Trial Act calculation. See [Doc. 25]. In the Motion, defense counsel represents that he

has reviewed all discovery produced to date, but Defendant has not yet completed his

review, which is due in part to the protective order that prohibits Defendant from

personally possessing the discovery. [Id. at 1]. However, Defendant is able to view



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discovery in defense counsel’s office, and that process is ongoing. [Id.]. Defense counsel

represents that, while the Parties have engaged in productive discussions, more time is

necessary to complete the discovery review process and discuss a potential disposition

with Defendant before Defendant may decide whether to proceed to trial. [Id. at 2].

Counsel asserts that, absent a continuance, Defendant will not have an opportunity to

fully review and discuss all of the discovery materials in this case and discuss his options

with counsel. [Id. at 4]. The Government does not oppose the requested continuance.

[Id. at 1].

        Based on the relevant record considered as a whole, the Court finds that it would

be unreasonable to expect adequate preparation, despite due diligence, for pretrial or trial

proceedings within the time initially allowed under 18 U.S.C. § 3161(c). The Court has

considered the required factors under 18 U.S.C. § 3161(h)(7)(B)(i)–(iv). As required by

18 U.S.C. § 3161(h)(7)(C), the Court has not predicated its ruling on congestion of the

Court’s calendar or lack of diligent preparation by counsel.

        Accordingly, the Court FINDS that:

        (1)   Failure to grant a continuance of trial beyond the time prescribed by 18
              U.S.C. § 3161(c) would likely result in a miscarriage of justice, within the
              meaning of 18 U.S.C. 3161(h)(7)(B)(i);

        (2)   Even considering due diligence, failure to grant the Motion would deny
              counsel for Defendant the reasonable time necessary for effective pretrial
              and trial preparation within the meaning of 18 U.S.C. § 1361(h)(7)(B)(iv);
              and

        (3)   Therefore, the ends of justice served by granting the Motion outweigh the
              best interests of the public and Defendant in a speedy trial within the
              meaning of 18 U.S.C. § 3161(h)(7)(A).

        Therefore, it is ORDERED that:




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      (1)    The Unopposed Motion to Exclude 180 Days from the Requirements of the

             Speedy Trial Act [Doc. 25] is GRANTED;

      (2)    The 70-day clock, exclusive of tolled time, shall accordingly be

             extended by 180 days, from April 1, 2025 to September 29, 2025; 1

      (3)    The current trial and Trial Preparation Conference dates are VACATED.

             The five-day jury trial is RESET for September 15, 2025.        The Trial

             Preparation Conference is RESET for September 12, 2025 at 10:00 a.m.;

      (4)    All pretrial motions shall be filed on or before August 1, 2025, and

             responses to these motions shall be filed by August 8, 2025. If counsel

             believe an evidentiary hearing on motions is necessary, they shall confer

             and email Chambers at Wang_Chambers@cod.uscourts.gov no later than

             two business days after the motion is filed to set such a hearing; and

      (5)    The remaining deadlines set forth in the Court’s Order Setting Trial Dates

             and Deadlines [Doc. 13] remain SET.



DATED: January 29, 2025                       BY THE COURT:


                                              _________________________
                                              Nina Y. Wang
                                              United States District Judge




1 An 180-day continuance of the 70-day date results in a deadline of Sunday, September

28, 2025. The deadline is thus automatically extended to Monday, September 29, 2025.
See Fed. R. Crim. P. 45(a)(1)(C).


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